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From             Body                                                           Timestamp: Time
Person‐1         I voted for him!                                               11/8/2016 10:46:01
                                                                                PM(UTC‐5)



Cohen            I vote for you!!!                                              11/8/2016 10:46:23
                                                                                PM(UTC‐5)



Person‐1         And I've spent the last month tracking down a dress for Ivanka 😋 11/8/2016 10:46:27
                                                                                  PM(UTC‐5)



Person‐1         Thanks! I'm gonna need help finding a new job when this        11/8/2016 10:47:05
                 election is over!                                              PM(UTC‐5)



Cohen            You're coming with me to the White House                       11/8/2016 10:47:27
                                                                                PM(UTC‐5)



Cohen            Astro chief of staff                                           11/8/2016 10:47:34
                                                                                PM(UTC‐5)



Cohen            Asst to chief of staff                                         11/8/2016 10:47:44
                                                                                PM(UTC‐5)




Person‐2         Big day. You guys might just pull this off.                    11/8/2016 11:04:37
                                                                                AM(UTC‐5)

Cohen            Hoping!!!                                                      11/8/2016 11:12:01
                                                                                AM(UTC‐5)

Person‐2         Chief of staff                                                 11/8/2016 11:13:47
                                                                                AM(UTC‐5)

Cohen            That would be nice                                             11/8/2016 11:14:56
                                                                                AM(UTC‐5)


Person‐3         I saw they're considering reince peribus for chief of staff    11/12/2016 12:22:50
                                                                                PM(UTC‐5)
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Cohen            He's pushing like a madman                                       11/12/2016 2:54:37
                                                                                  PM(UTC‐5)

Person‐3         Do you still have a chance                                       11/12/2016 2:55:00
                                                                                  PM(UTC‐5)

Cohen            So many opportunities                                            11/12/2016 3:16:12
                                                                                  PM(UTC‐5)

Person‐3         Like what                                                        11/12/2016 3:16:21
                                                                                  PM(UTC‐5)

Cohen            When they come closer I will tell you all of them                11/12/2016 3:16:42
                                                                                  PM(UTC‐5)

Person‐3         Ok                                                               11/12/2016 3:16:48
                                                                                  PM(UTC‐5)

Cohen            How are you                                                      11/12/2016 3:16:55
                                                                                  PM(UTC‐5)

Person‐3         I'm good                                                         11/12/2016 3:19:32
                                                                                  PM(UTC‐5)

Person‐3         Are the opportunities in government or no?                       11/12/2016 3:19:55
                                                                                  PM(UTC‐5)

Cohen            A hybrid                                                         11/12/2016 4:18:22
                                                                                  PM(UTC‐5)

Person‐3         You ok?                                                          11/13/2016 5:48:26
                                                                                  PM(UTC‐5)

Cohen            Yes                                                              11/13/2016 5:49:03
                                                                                  PM(UTC‐5)

Person‐3         You sure?                                                        11/13/2016 5:49:11
                                                                                  PM(UTC‐5)

Cohen            Yes                                                              11/13/2016 5:49:48
                                                                                  PM(UTC‐5)

Cohen            Disappointed but understand why                                  11/13/2016 5:50:01
                                                                                  PM(UTC‐5)

Person‐3         You can tell me                                                  11/13/2016 5:50:05
                                                                                  PM(UTC‐5)

Person‐3         Trump shouldn't have spoken to you before the news came out      11/13/2016 5:50:36
                                                                                  PM(UTC‐5)

Cohen            He needs an insider to give the presidency validity. To take     11/13/2016 5:51:43
                 someone with no political navigations for the role would cause   PM(UTC‐5)
                 everyone to say it's going to be a banana cabinet
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Person‐4         Cohn or Powell will be Chief of Staff            5/14/2017 2:29:05
                                                                  PM(UTC‐4)

Cohen            Neither                                          5/14/2017 2:29:15
                                                                  PM(UTC‐4)

Person‐4         Who then                                         5/14/2017 2:29:21
                                                                  PM(UTC‐4)

Cohen            Really?                                          5/14/2017 2:29:29
                                                                  PM(UTC‐4)

Person‐4         If Powell she'd be the first woman               5/14/2017 2:29:41
                                                                  PM(UTC‐4)

Person‐4         Not jared                                        5/14/2017 2:29:43
                                                                  PM(UTC‐4)

Person‐4         Too close                                        5/14/2017 2:29:46
                                                                  PM(UTC‐4)

Cohen            Really?                                          5/14/2017 2:29:56
                                                                  PM(UTC‐4)

Person‐4         Not ivanka                                       5/14/2017 2:30:00
                                                                  PM(UTC‐4)

Person‐4         Too close                                        5/14/2017 2:30:04
                                                                  PM(UTC‐4)

Cohen            Keep guessing dopey                              5/14/2017 2:30:11
                                                                  PM(UTC‐4)

Person‐4         Stop!!!!                                         5/14/2017 2:30:16
                                                                  PM(UTC‐4)

Person‐4         You???                                           5/14/2017 2:30:18
                                                                  PM(UTC‐4)

Cohen            I will give you a hint...yes                     5/14/2017 2:30:25
                                                                  PM(UTC‐4)

Person‐4         Omg                                              5/14/2017 2:30:32
                                                                  PM(UTC‐4)

Person‐4         Please be true                                   5/14/2017 2:30:37
                                                                  PM(UTC‐4)

Person‐4         Are you serious? You need to                     5/14/2017 2:30:58
                                                                  PM(UTC‐4)

Cohen            He needs to ask. I would never                   5/14/2017 2:31:10
                                                                  PM(UTC‐4)
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Cohen            It's disrespectful                                                 5/14/2017 2:31:17
                                                                                    PM(UTC‐4)

Person‐4         He needs someone from his old world there. He doesn't trust        5/14/2017 2:31:33
                 anyone else                                                        PM(UTC‐4)

Person‐4         You would be perfect                                               5/14/2017 2:31:39
                                                                                    PM(UTC‐4)

Cohen            How could he? They are all about themselves and I have always      5/14/2017 2:32:15
                 been about him...even to my detriment                              PM(UTC‐4)

Person‐4         Exactly                                                            5/14/2017 2:32:24
                                                                                    PM(UTC‐4)

Cohen            All with not a shred of appreciation from anyone                   5/14/2017 2:32:33
                                                                                    PM(UTC‐4)

Person‐4         Yup                                                                5/14/2017 2:32:37
                                                                                    PM(UTC‐4)

Person‐4         I'm sorry                                                          5/14/2017 2:32:41
                                                                                    PM(UTC‐4)

Person‐4         😔                                                                  5/14/2017 2:32:43
                                                                                    PM(UTC‐4)

Person‐4         Very frustrating                                                   5/14/2017 2:32:48
                                                                                    PM(UTC‐4)

Cohen            From the start, to the sexist issue, to the coalition, to protection 5/14/2017 2:33:40
                 him...all to my detriment and not even a shred of appreciation. PM(UTC‐4)
                 And I would do it all again.
Person‐4         I know you would                                                     5/14/2017 2:34:14
                                                                                      PM(UTC‐4)

Cohen            So either I'm an idiot or just a loyal soldier                     5/14/2017 2:34:24
                                                                                    PM(UTC‐4)

Cohen            It's a 50‐50 call                                                  5/14/2017 2:34:36
                                                                                    PM(UTC‐4)

Person‐4         I feel like I don't even know the kids anymore. No one texts or    5/14/2017 2:34:52
                 calls. It's heartbreaking. Exactly. I don't know                   PM(UTC‐4)

Cohen            Sad                                                                5/14/2017 2:35:24
                                                                                    PM(UTC‐4)

Person‐4         Yup                                                                5/14/2017 2:35:28
                                                                                    PM(UTC‐4)

Cohen            Lots of articles about a shakeup                                   5/14/2017 2:37:18
                                                                                    PM(UTC‐4)
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Cohen            He needs to go back to thebbasics                                 5/14/2017 2:37:29
                                                                                   PM(UTC‐4)

Person‐4         Exactly. Which means it's definitely happening. Even faster than 5/14/2017 2:38:33
                 most predicted. I said at the 6 month mark he's going to look up PM(UTC‐4)
                 from his desk and be like, "Who the hell are all these people?
                 Where's Cohen, where's Larry, where's Rhona?"

Person‐4         Instead it happened at 5 months                                   5/14/2017 2:38:42
                                                                                   PM(UTC‐4)

Person‐4         You can't expect the same private sector success if you don't     5/14/2017 2:39:04
                 have the same private sector people                               PM(UTC‐4)

Person‐4         Basics                                                            5/14/2017 2:39:17
                                                                                   PM(UTC‐4)

Cohen            There's no loyalty to him by these swamp rats. I watch it on tv   5/14/2017 2:39:57
                 and seriously want to jump in and crack them across the jaw       PM(UTC‐4)

Person‐4         Me too                                                            5/14/2017 2:40:06
                                                                                   PM(UTC‐4)

Cohen            Well keep my name in range loop please                            5/14/2017 2:40:33
                                                                                   PM(UTC‐4)




Person‐5         When are u chief of staff                                         1/25/2018 8:50:31
                                                                                   PM(UTC‐5)

Cohen            Maybe 3 to 4 months                                               1/25/2018 8:51:19
                                                                                   PM(UTC‐5)
